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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                                  PLAINTIFF

       v.                         Crim. No. 6:10CR60014-001

ELENA KAY RAMIREZ                                                         DEFENDANT

                                       O R D E R

       On    this   28th    day   of    December     2010,    there   comes   on   for

consideration the report and recommendation filed in this case on

December 15, 2010, by the Honorable Barry A. Bryant, United States

Magistrate Judge for the Western District of Arkansas.                    (Doc. 79).

       The trial of this matter is scheduled to begin March 2, 2011.

Defendant filed her Motion to Suppress on November 10, 2010.                      (Doc.

71).    The Government filed a response to this Motion on November 17,

2010.       (Doc. 72).     Judge Bryant held a hearing on this Motion on

December 2, 2010.          The Government filed a summary brief on December

7, 2010, (Doc. 77), and Defendant filed a brief in support on December

9,   2010.     (Doc.     78).      Judge    Bryant     filed     this    report    and

recommendation on December 15, 2010.                   Defendant filed written

objections on December 23, 2010.              (Doc. 80).

       The Court has reviewed this case de novo and, being well and

sufficiently,       advised,      finds     as     follows:       The    report    and

recommendation is proper and should be and hereby is adopted in its

entirety.      Accordingly, Defendant’s Motion to Suppress (Doc. 71) is
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DENIED.

      IT IS SO ORDERED.

                                         /s/ Robert T. Dawson
                                         Honorable Robert T. Dawson
                                         United States District Judge




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